Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 1of10 Page ID#:4

EXHIBIT A
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 2of10 Page ID#:5

a OR palNAL suns!

SUMMONS (SOLO PARA 080 Da LA CORTED
(CITACION JUDICIAL) |
NOTICE TO DEFENDANT: guPLetoe sauerr
{AVISO AL. DEMANDADO): : FILED
WELLS FARGO BANK, NATIONAL ASSOCIATION, and DOES 1 ~ ; .
10 inclusive, JAN 1 0 2017

YOU ARE BEING SUED BY PLAINTIFF: MICHAEL D, PLANET

. ~ 7 Execullve Ollice Clark
(LO ESTA DEMANDANDO EL DEMANDANTE): enacess RL. ou a
ANNETTE GRIND, JEMIEE RES

Se ee

 

 

NOTICE! You have bean sued, The court may dacide ugainst you without your being heard unless you respond within 30 days, Read the information
below.

You hava 30 CALENDAR DAYS afler thls summons and legal papars are served on you to file a written response al this court and have a copy
served on the plalntiff. A fetlar or phone call wi nat protect you. Your writen response must be in proper legal form if you want the court fo hear your
case, There may be a court form that you can use for your response. ‘fou can find these court forms and more Information at the Calfornia Courts
Online Self-Halp Center (wwy.courtinio.ca.gowselfhelp), your county law library, or the courthouse nearest you. i you cannot pay the fling fea, ask
the court clerk for a fee waiver farm. If you do not file your response on tine, you may lose the case by default, and your wages, money, and property
may be token withoul further warning from the court,

There ore other legal roquirements. You may want {o call an altorney right oway, If you do not know an attomey, you may want to call an attornay
referral service. If you cannot afford an attorney, you may be eligible (or tree legal services from a nonprofit lagal services program. You can locate
these nonprofit grcups al the California Legal Services Web site (www,/awhelpceliforla,org), (he Califomfa Couris Online Self-Help Center
(iw. courtinfo.ca,gov/selhelp), of by contacting your local court or county bar ussoclation, NOTE: The court has a stalutory tien for waived fees and
costs on any setilament or arbitration award of $10,000 of move lina ctvil case. The court's len must be pald before the court will clsmiss the case,
{AVISO! Lo hen domandado, Sino msponda centro de 30 dias, Ja corte puede deckliren su contra sin escuchar su varsion, Lea fa informaciin a
continuactén.

Tiene 30 DIAS DE CALENDARIO después de que fe enfreguen esta clacitn y papeles legules para presentar une respuesta por escrito an asta
corte y hacer que se entrague Une copia al demandanta, Una cars o una llemade (elafdnica no jo prolegen, Su respuesta por escrito tiene que estar
an formato legal correcta si desea qua procesen su ceso on la carte, Es posible qua haya un formulario que usted pueda usar para su respuesta,
Puede encentrar estos formularios de la corta y mas Informacién en el Contra de Ayuda ds las Cortes da California (vaww.sucorte.ca,gov), en la
biblioteca de leyes da su condado o en [a corle qua je quede mas cerca, S/ ne puede pager ja cuota de presentacién, pide al secretario de Ia cored
que fe dé un formulario de exencién de pago de cuotas. Sino prosenta su respuesta o tiernpa, puede porder ef caso por incumplimianto y la carto oe
pocrd quifar su sueldo, dinero y bleaes sin mas advartencia. .

Hay otros requisitos legales. Es recomendable que llamo a un abogato Inmodialamente, SI] no conoce a un obogado, puede lamer @ un servicid da
ramisida a abegados, Sine puede pagar a un abogedo, es posible que cumpia con [os requisites pare oblenor sorviclos legales gratullos de un >
programa de servicios legales sin tines do lucro, Puede onconter estos grupos sin fines de {vero en el silio web de California Legal Services,

(www, lawhelpcalifornia.org), en ef Centra de Ayuda de las Cortes da California, (wvrw.sucorte.ca.gov) 9 poniéndosa en cantacto con le corte o al
cologlo de abogados locaias. AVISO; Por iey, la corte tiene daracho a reclamar jas cuolas y los coslos oxentos por imponer un gravamen sobro
cualquier racuperacidn de $10,000 6 mds.de valor racibida mediante un acuerdo o una concestén de arbitraje en un caso de derecho civil, Tiene que
pagur el gravarnen da (a corte antes de que fa corle pueda dasochar al caso,

‘The name and address of the court Is: Vv Hall of Justi | CASE HUMBER: |

(El nombre y Greccion de la corte es): Ventura Hall of Justice 5G-2017-00491460-CL-NP-VTA
800 South VictoriaAvenue
Ventura, California 93009 :
The natne, address, and {elephone number of plaintiff's allornay, or plaintiff without an attorney, Is: :

(El nombre, la direcclon y ef ndmero de teldfono del abogado del domundante, o del demandanto que no tlene abogado, 65):
Todd M. Friedman, 21550 Oxnard St., Suite 780 Woodland Hills, CA 91367, 877-206-4741 ft

 

 

 

 

 

 

(Fecha) __ (Secretayio) i (Adjunio)
(For proof of service af this summons, use Proat ot Service of Summons (form POS-010),) ae t

(Para prueba de entroga de osta citation use al formulario Proof of Service of Summons, (Pos-OfGMIFER L. OLIVA
NOTIGE TO THE PERSON SERVED: You are served q
a 4. (<2) as an Individual defendant,
NOY 2, (J as the person sued under the fictitious name of (specify): ‘

Fok lon M,
1 oI, My WELLS FARGO BANK, NATIONAL ASSOCIATION
+ “ni .
yy j 3, LSM) on behalf of (specify);
SZ under: (_] CCP 416,10 (corporation) CT] CCP 416.60 (minor)
Nee creme CGP 446,20 (dafunct corporation) {_] CCP 416.70 (conservatce)
Wan COP 416.40 (association or partnership) [—] CCP 418.90 (authorized parson)
: (~} other (specify). ; |
4. (£7) by parsonat delivery on (date): nena
‘age 1a

Fonn Adopted tor Mandelory Uso u Code of Civ)! Procodure 4§ 412.20, 485
Judiesyl Counc af Galtornls SUMMONS wwe.cautinta.cy,gov |

SUM-100 (Rov. July 1, 2009) [american Ledovin, Inc. | i

 

DATE: JAN 10 2017 Clerk, by Michael D Planet , Deputy 1

 

  

    
  
   
 

  

 

 

 

 

 

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 3o0f10 Page

19
20
21
22
23
24
25
26
27

28

 

Todd M. Friedman (216752)
Adrian R, Bacon (280332)
Law Offices of Todd M. Friedman, P.C.

21580 Oxnard St., Suite 780 supealoe count
Woodland Hills, CA 91367 FILED
Phone: 877-206-4741

Fax: 866-633-0228 JAN 10 2017
tfriedman@toddflaw.com MICHAEL 0. PLANET

Executive Officer and Clerk

BY: JENNIFER | OLIVA, Deputy

abacon@toddflaw.com
Attorneys for Plaintiff

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF VENTURA

LIMITED JURISDICTION

) CaseNo. — 56.5017.00491460-CL-NP-VTA

ANNETTE GRIND, ) Pt le a fal het
) COMPLAINT

Plaintiff, ) (Amount not to exceed $10,000)

)

vs. ) 1. Violation of Rosenthal Fair Debt

) Collection Practices Act

WELLS FARGO BANK, NATIONAL ) 2. Violation of Telephone Consumer

 

ASSOCIATION, and DOES 1 —.10 inclusive, ) Protection Act
)
Defendant. ) JURY DEMANDED
)
I. INTRODUCTION
1, This is an action for damages brought by an individual consumer for Defendant’s

violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, et seg,
(hereinafter “RFDCPA”) which prohibits debt collectors from engaging in abusive, deceptive,
and unfair practices. Ancillary to the claims above, Plaintiff further alleges claims’ for
Defendant's violations of the Telephone Consumer Protection Act., 47 U.S.C. §227, et seq,
(hereinafter “TCPA”),
If. PARTIES

2. Plaintiff, ANNETTE GRIND (“Plaintiff”), is a natural person residing in Ventura
County in the state of California and is a “debtor” as defined by Cal. Civ, Code §1788.2(h).
Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

Complgint - }

 

 

ID #:6

‘

a el ae a pee eee

 

 

 

AWA Ad

 

 

 

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 4of10 Page ID#:7

10

1]

12

13

25

26

27

28

a

 

 

’

on At all relevant times herein, Defendant, WELLS FARGO BANK, NATIONAL
ASSOCIATION (“Defendant”), is a company engaged, by use of the mails and telephone, in the
business of collecting a debt from Plaintiff which qualifies as a “consumer debt,” as defined by

Cal. Civ. Code §1788.2(f). Defendant regularly attempts to collect debts alleged to be due them,

-|and therefore is a “debt collector” as defined by the RFDCPA, Cal. Civ. Code §1788.2(c).

Further, Defendant uses an “automatic telephone dialing system” as defined by the TCPA, 47
U.S.C. §227.

4, The above named Defendant, and its subsidiaries and agents, are collectively
referred to as “Defendants.” The true names and capacities of the Defendants sued herein as
DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who therefore
sues such Defendants by fictitious names. Each of the Defendants designated herein as a DOE
is legally responsible for the unlawful acts alleged herein, Plaintiff will seek leave of Court to
amend the Complaint to reflect the true names and capacities of the DOE Defendants when such
identities become known.

5. Plaintiff is informed and believes that at all relevant times, each and every
Defendant was acting as an agent and/or employee of each of the other Defendants and was acting
within the course and scope of said agency and/or employment with the full knowledge and
consent of each of the other Defendants. Plaintiff is informed and believes that each of the acts
and/or omissions complained of herein was made known to, and ratified by, each of the other
Defendants.

WW. FACTUAL ALLEGATIONS

6. At various and multiple times prior to the filing of the instant complaint, including
within the one year preceding the filing of this complaint, Defendant contacted Plaintiff in an
attempt to collect an alleged outstanding debt.

7. ° Over the last year, Defendant called Plaintiff's cell phone ending in -7333
numerous times. Defendant routinely made multiple calls to Plaintiff. Defendant’s calls were
excessive and harassing to Plaintiff.

8. Defendants calls were made to Plaintiff in connection with collection on an

alleged debt.

Complaint - 2

 

7

e

ee et,

werner e -

 

 

 

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 5of10 Page ID#:8

I 9, Plaintiff revoked any consent that Defendant may have had to call Plaintiff in
2 || connection with collection of the alleged debt in one of Defendant’s initial calls,

3 10. Despite this, Defendant continued to call Plaintiff, thereby causing her to feel
4 || harassed, anxious, and annoyed.

5 Wy. As a result of Defendant’s actions, Plaintiff have retained counsel. Plaintiff's
6 || counsel sent a notice of representation on or about May 19, 2016. Defendant has failed to respond
7 || to that letter at this time.

8 12. Defendant also used an “automatic telephone dialing system,” as defined by 47

 

9 || U.S.C. § 227(a)(1), to place its repeated collection calls to Plaintiffs seeking to collect the debt

10 || allegedly owed.

|
1 13. Defendant’s calls constituted calls that were not for emergency purposes as |
12 || defined by 47 U.S.C. § 227(b)(1){A). ie
i
13 14, Defendant’s calls were placed to telephone number assigned to a cellular i
i

14 || telephone service for which Plaintiffs incur a charge for incoming calls pursuant to 47 U.S.C.
15 || §227(b)(1).
16 15, §1788.17 of the RFDCPA mandates that every debt collector collecting or

17 || attempting to collect a consumer debt shall comply with the provisions of Sections 1692b to
13 || 1692}, inclusive, of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
19 || United States Code statutory regulations contained within the FDCPA, 15 U.S.C, §1692d, and
20 || §1692d(5).

21 16. Defendant’s conduct violated the RFDCPA in multiple ways, including but not :

 

22 || limited to: '

23 a) Causing a telephone to ring repeatedly or continuously to annoy Plaintiff °
(Cal. Civ. Code § 1788.11(d));

b) Communicating, by telephone or in person, with Plaintiff with such
25 frequency as to be unreasonable and to constitute an harassment to
Plaintiff under the circumstances (Cal. Civ. Code § 1788.11(e));

24

26
c) Causing Plaintiffs telephone to ring repeatedly or continuously with intent

27 to harass, annoy or abuse Plaintiff (15 U.S.C, § 1692d(5));

28

Complaint - 3

 

 

 

 

 

 

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 6éof10 Page ID#:9

23

24

25

26

27

28

 

d) Communicating with Plaintiff at times or places which were known or
should have been known to be inconvenient for Plaintiff (15 U.S.C. §
1692c(a)(1)) ; and

e) Engaging in conduct the natural consequence of which is to harass,
oppress, or abuse Plaintiff (15 U.S.C. § 1692d)).

17. Defendant’s conduct violated the TCPA by:

a) using any automatic telephone dialing system or an artificial or pre-
recorded voice to any telephone number assigned to a paging service,
cellular telephone service, specialized mobile radio service, or other
radio common carrier service, or any service for which the called party
is charged for the call (47 USC §227(b)(A){iii).

18, As a result of the above violations of the RFDCPA and TCPA, Plaintiff suffered
and continues to suffer injury to Plaintiff's feelings, personal humiliation, embarrassment, mental
anguish and emotional distress, and Defendant is liable to Plaintiff for Plaintiff's actual damages,
statutory damages, and costs and attorney’s fees.

COUNT I: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

19, ‘Plaintiff reincorporates by reference all of the preceding paragraphs.
20. To the extent that Defendant’s actions, counted above, violated the RFDCPA,

those actions were done knowingly and willfully.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against Defendant
for the following:
A, Actual damages;
B. Statutory damages for willful and negligent violations;
ie Costs and reasonable attorney’s fees;
D. For such other and further relief as may be just and proper.

COUNT I: VIOLATION OF TELEPHONE
CONSUMER PROTECTION ACT

21, Plaintiff incorporates by reference all of the preceding paragraphs.

Complaint - 4

 

 

 

ee, ae ee me ee et
a: STi aS Ee es ha ae

eee et ee ot

p< aee —

 

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 7 of10 Page ID #:10

21

22

23

24

25

26

27

28

 

 

22. The foregoing acts and omissions of Defendant constitute numerous and multiple
negligent violations of the TCPA, including but not limited to each and every one of the above
cited provisions of 47 U.S.C. § 227 et seq..

23.  Asaresult of Defendant’s negligent violations of 47 U.S.C. §227 et seq., Plaintiff
is entitled an award of $500.00 in statutory damages, for each and every violation, pursuant to
47 U.S.C. § 227(b)(3)(B).

24. The foregoing acts and omissions of Defendant constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to each and every one
of the above cited provisions of 47 U.S.C. § 227 et seq..

25.  Asaresult of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

26. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the
future.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

A. As aresult of Defendant’s negligent violations of 47 U.S.C. §227(b)(1),
Plaintiff is entitled to and request $500 in statutory damages, for each
and every violation, pursuant to 47 U.S.C. 227(b)(3)(B);

B. As aresult of Defendant’s willful and/or knowing violations of 47 U.S.C.
§227(b)(1), Plaintiff is entitled to and requests treble damages, as
provided by statute, up to $1,500, for each and every violation, pursuant
to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C); and

C, Any and all other relief that the Court deems just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

Respectfully submitted this 10" day of January, 2017.

By: pa F=E
Todd M. Friedman, Esq.
Law Offices of Todd M. Friedman, P.C.
Attomey for Plaintiff

Complalnt - 5

 

7

-
i

 

 

 

 

 
 

Case 2:17-cv-01267-VAP-AJW Document 1-1

.

 

Law Offices of Todd M. Friedman
21550 Oxnard St., Suite 780
Woodland Hills, CA 91367

TeveeHoneno. 877-206-4741

¥ TY WITHOUT ATTORNEY, Nb , Stole Bari umber, and address):
To Mi Enedman Esq. SBN 210/32 °

FAxHo: 866-633-0228

ATTORNEY FOR (Name); Plaintiff, ANNETTE GRIND

FOR COURT USE ONLY

VENTURA
SUPERIOR COURT

FILED

 

MAILING AODRESS:

ciry ano zip coos; Ventura 93009 .
aranci ame: Ventura Hall of Justice

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Ventura
steer aooress: 800 South Victoria Avenue

JAN 1.0. 2017.

MIGHAEL D. PLANET

 

CASE NAME:

Annette Grind v. Wells Fargo Bank, National Association

Executive Officer and Clerk

Barrer LCOLivA— DePuy

Filed 02/16/17 Page 8of10 Page ID #:11

 

CIVIL CASE COVER SHEET

[) unlimited Limited
(Amount (Amount
demanded demanded Is

 

exceeds $25,000) $25,000 or less)

Complex Case Designation

CJ Counter CJ Joinder

Fiied with first appearance by defendant
(Cal, Rules of Court, rule 3,402)

§8-2017-00491460-CL-NP-VTA

|
t.

 

JUDGE;

DEPT:

 

 

ltems 1—6 below must be completed (see instructions on page 2).

 

Wrongful termination (36)
[ | Other employment (15)

 

1, Check one box below fer the case type that best describes this case;

Auto Tort Contract

Auto (22) {_] Breach of contractAwarranty (06)

Uninsured motorist (46) [__] Rute 3.740 collections (09) [_]
Other PYPDIWD (Personal Injury/Property  [__] Other collections (09) [_]
Damage/Wrongful Death) Tort [| insurance coverage (18) [|
[| Asbestos (04) [1] other contract (37) 1
(_] Product liability (24) Rani Prepenty fF]
[__] Medical malpractice (45) Eminent domain/Inverse [J
[_} other PvPO/WD (23) condemnation (14)

[__] what oftmandate (02)
[] Other judicial review (39)

Provislonally Complex Civil Litigation
(Ca), Rules of Court, rules 3,400-3.403)

Antitrust/Trade regulation (03)
Construction defect (10)

Mass tort (40)

Securities litlgatlon (28)
Environmental/Toxic tort (30)

Insurance coverage clalms arising trom the
above listed provisicnally complex case
types (41)

Non-P/PO/WD (Other) Tort Wrongful eviction (33)

(__] Business tort/unfalr business practice (07) [__] other real property (26) Enforcement of Judgment

L_] Civilrights (08) Untawtul Detainer Enforcement of Judgment (20)

[__] Defamation (13) Gommerciat (31) Miscellaneous Civil Complaint

(_] Fraud (16) [__] Residential (32) (_] Rico (27)

[__] intetlectuat property (19) CJ Drugs (38) Other complaint (not specified above) (42)
L_] Professional nagligence (25) Judicial Review Miscellaneous Civil Patition

L¥] other non-PYPD/WO tort (35) Asset forfeiture (05) Partnership and corporate governance (21)
Employment Petition re: arbltratlon award (11) c_] ; ,

Other petition (not specified above) (43)

Ow
<
a
>
*<

 

 

2. Thiscase |_l!s [x] isnot complex under rule 3,400 of the California Rules of Court. If the case Is complex, mark the
factors requiring exceptional Judictal management: :
a.L_] Large number of separately represented parties d.[_] Large number of witnesses ‘
b. Cc) Extensive motion practice ralsing difficult or novel —e, [_] Coordination with related actlons pending in one or more courts
Issues that wll! be time-consuming to resolve in other counties, states, or countries, or in a federal court
c, L__] Substantlal amount of documentary evidence t. (_] Substantial posfjudgment judicial supervision
3. Remedies sought (check all that apply): av] monetary b.LZ] nonmonetary; declaratory or Injunctive relief ¢. CZ ]punitive
4, Number of causes of action (specify): 2
§. This case is Isnot  aclass action suit.
6, Ifthere ave any known related cases, file and serve a notice of related case, (You may use form CM-015,)

Date: January 10, 2017
Todd M. Friedman

uth

(TYPE OR PRINT NAME)

b

——oo Ne

al a 9 pci te ee re eS

 

(SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

NOTICE

« Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed

under the Probate Code, Family Code, or Welfare and Institutions Code), (Gal, Rules of Court, rule 3.220.) Fallure to file may result

In sanctions,

¢ File this cover sheet In addllion to any cover sheet required by local court rule.
¢ Ifthis case {s complex under rule 3.400 et seq. of the Callfomla Rules of Court, you must serve a copy of this cover sheet on all

other parties to the action or proceeding.

° Uniess this Is a collections case under rule 3,740 or a complex case, this cover sheet will be Used for statistical purposes only.

 

Form pored for Mandatory Use
Judielal Counelt of Calllomla
CM-010 (Rov. July 1, 2007)

CIVIL CASE COVER SHEET

eiof2
Cul. Rules of Court, rigs 9,39, 3,220, 3.400-3,403, 3.740;

Cat, Stondords of Judicial Acminisirotion, std. 3.10 5

ww. couninfo.ca.gay |
Amoarinar | arnlNet lan |

 

——-

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 9of10 Page ID #:12

I
CM-010
INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a clvil case, you must:
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to complle:
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check:
one box for the case lype thal best describes the case, If the case fits both a general and a more specific type of case listed in item 1,°
check the more specific one, If the case has multiple causes of action, check the box that best indicates the primary cause of action, ,
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover:

sheet must be filed only with your initial paper. Fallure to file a cover sheet with the first paper filed in a clv|l case may subject a party);
its counsel, or both to sanctions under rules 2,30 arid 3,220 of the California Rules of Court. ie

To Parties in Rule 3.740 Collections Cases. A “collections case" under rule 3.740 |s defined as an actlon for recovery of money:
owed in a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in.
which property, services, or money was acquired on credit. A collections case dogs not include an action seeking the following: (1) tort:
damages, (2) punitive damages, (3) recovery of real properly, (4) recovery of personal property, or (5) a prejudgment writ of:
attachment, The Identification of a case as a rule 3.740 collections case on this form means thal it will be exempt from the general!
time-for-service requirements and case management rules, unless a defendant files a responsive pleading, A rule 3.740 collections ;
case will be subject to the requirements for service and obtaining a Judgment in rule 3.740, "
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet ta designate whether the.
case is complex. If a plaintiff believes the case is complex under rule 3,400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2.'lf a plaintiff designates a case as complex, the cover sheet must be served with the

complaint on all parties to the action, A defendant may file and serve no later than the time of its first appearance a joinder in the’ |

 

 

plaintiff's designation, a counter-designation that the case ls not complex, or, if the plaintiff has made no designation, a designation thal’
|

the case Is complex.

Auto Tort
Auto (22)-Personal InJury/Property
Damage/Wrongful Death
Uninsured Motorlst (46) (/f the
case Involves an uninsured
motorist claim subject to
arbitration, check this Item
Instead of Auto}
Other PUPD/WD (Personal InJury/
Property Damage/Wrongful Death)
Tort

Asbestos (04)

Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmental) (24)

Medical Malpractice (45)

Medical Malpractice—
Physicians & Surgeons

Other Professlona! Health Care
Malpractice

Other PVPD/WD (23)

Premises Llabllity (e.g., slip
and fall)

Intentional Bodily Injury/POMWD
(e.g., assault, vandalism)

Intentional Infliction of
Emotional Distress

Negligent Infllctlon of
Emotlonal Distress

Other Pl/PDAVD

Non-Pl/PD/WD (Other) Tort
Business Torl/Unfalr Business
Practice (07)

Civil Rights (e.g., discrimination,
false arrest) (not civil
harassment) (08)

Sa. (e.g,, slander, fibel)

13

Fraud (16)

Intellectual Property (19)

Professlonal Negligence (25)
Legal Malpractice
Other Professional Malpractice

(not medical or legal)

Other Non-PI/PD/WD Tart (35)

Employment
Wrongful Termination (36)
Other Employment (15)

CM-010 [Rev, July 1, 2007]

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful aviction)
Contract/Warranty Breach-Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of ContraclWarranty

Collections (e.g., money owed, open
book accounts) (09)

Collection Case—Seller Plalntitf
Other Promissory Note/Collections
Case

Insurance Coverage (not provisionally
complex) (18)

Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminant Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.9., quiet title) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, tandlord/enant, or
foreclosure)

Unlawful Detalner

Commercial (31)

Residential (32)

Drugs (38) (if the case Involves Illegal
drugs, check this tem; otherwise,
report as Commercial or Residential)

Judiclal Review

Asset Forfelture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Weit-Admintistratlve Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review &32)

Review of Health Officar Order
Notice of Appeal-Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

Provisfonally Complex Civil Litigation (Cal,
Rules of Court Rules 3.400-3.403)
Antitrust‘Trade Regulation (03)
Constructlon Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Clalms
(arising from provisionally complex
case lype Ilsted above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-
domestic relations)
Sister Stale Judgment
Administrative Agency Award
(not unpald taxes)
Petition/Certlficatlon of Entry of
Judgment on Unpald Taxes
Other Eaforcement of Judgment

Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
InJunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commerclal Complaint
Case (non-tort/non-complex)
Other Clvil Complaint
(non-lart/non-camplex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petitlon (not specified
above) (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adutt
Abuse
Election Contest
Petition for Name Change
Petition for Relief From Late
Claim
Other Civil Petition

f
1
t,
im
i;
j
j
}.

 

 

Page2of2,

|
|

 
Case 2:17-cv-01267-VAP-AJW Document 1-1 Filed 02/16/17 Page 10of10 Page ID #:13

SUPERIOR COURT OF CALIFORNIA
COUNTY OF VENTURA

800 South Victoria Avenue
Ventura , CA 93009

(805) 289-8525
WWW.VENTURA.COURTS.CA.GOV

NOTICE OF CASE ASSIGNMENT AND MANDATORY APPEARANCE

Case Number: 56-2017-00491460-CL-NP-VTA

Your case has been assigned for all purposes to the judicial officer indicated below.

A copy of this Notice of Case Ass{gnment and Mandatory Appearance shall be served by the filing party on all
named Defendants/Respondents with the Complaint or Petition, and with any Cross-Complaint or Complaint in
Intervention that names a new party to the underlying action.

 

ASSIGNED JUDICIAL OFFICER COURT LOCATION DEPT/ROOM
Hon. Mark Borrell Ventura 40

HEARING MANDATORY APPEARANCE CMC/Order to Show Cause Re Sanctions/Dismissal
for Failure to File Proof of Service/Default

 

 

 

 

 

EVENT DATE EVENT TIME EVENT DEPT/ROOM
06/09/2017 08:15 AM 22B

SCHEDULING INFORMATION

 

 

 

 

 

 

 

Judicial Scheduling Information

AT THE ABOVE HEARING IS MANDATORY,

Each party must file a Case Management Statement no later than 15 calendar days prior to the hearing and
foRG 3728), parties, If your Case Management Statement is untimely, it may NOT be considered by the court
If proof of service and/or request for entry of default have not been filed: At the above hearing you are ordered
to show cause why you should not be compelled to pay sanctions and/or why your case should not be dismissed
(CCP 177.5, Local Rule 3,17).

 

Advance Jury Fee Requirement

At least one party demanding a jury trial on each side of a civil case must pay a non-refundable jury fee of $150.
The non-refundable jury fee must be paid timely pursuant to Code of Civil Procedure section 631.

 

Noticed Motions/Ex Parte Matters

To set an ex parte hearing, contact the judicial secretary in the assigned department. Contact the clerk's office
to reserve a date for a law and motion matter.

 

Telephonic Appearance

Telephonic appearance at the Case Management Conference is permitted pursuant to CRC 3.670. In addition,
see Local Rule 7.01 regarding notice to the teleconference provider. The court, through the teleconference
provider, will contact all parties and counsel prior to the hearing,

 

 

 

Clerk of the Court,
Date: 01/11/2017 By: Qn

Jennifer Oliva, Clerk

 

 

VEN-FNROG2

NOTICE OF CASE ASSIGNMENT AND MANDATORY APPEARANCE
